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 4
     Attorney for Amicus Curiae Upturn
 5

 6                                     UNITED STATES DISTRICT COURT
 7                               NORTHERN DISTRICT OF CALIFORNIA
 8                                           SAN JOSE DIVISION

 9
     SUZANNE-JULIETTE MOBLEY, DANIEL                )
10   ADRIAN MANRIQUEZ, VICTOR                       )   Case Number: 5:16-cv-06440-EJD
     ONUOHA, on behalf of themselves and all        )
11   others similarly situated,                     )
                                                    )
12                                                  )   UPTURN, INC.’S MOTION FOR
                       Plaintiff(s),                )   ADMINISTRATIVE RELIEF FOR
13                                                  )   LEAVE TO FILE BRIEF AS AMICUS
            vs.                                     )   CURIAE IN SUPPORT OF PLAINTIFFS’
14                                                  )   OPPOSITION TO FACEBOOK’S
                                                    )   MOTION TO DISMISS FIRST
15   Facebook, Inc.,                                )   AMENDED COMPLAINT
                                                    )
16                                                  )
                       Defendant(s).                )   Date: November 16, 2018
17                                                  )   Time: N/A
                                                    )   Judge: Honorable Edward J. Davila
18                                                  )   Courtroom: 4

19

20          Amicus Curiae Upturn respectfully moves this Court for leave to file the accompanying

21   amicus brief in support of Plaintiffs’ Opposition to Facebook’s Motion to Dismiss First Amended

22   Complaint, Dkt. 41, pursuant to this Court’s Order regarding Amicus Briefing. Dkt. 74 at 3.

23          Upturn is a nonprofit organization based in Washington, D.C. that works in partnership

24   with many of the nation’s leading civil rights and public interest organizations to promote equity

25   and justice in the design, governance, and use of digital technology. One of Upturn’s key priorities

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28   UPTURN’S MOTION FOR ADMINISTRATIVE RELIEF FOR LEAVE TO FILE BRIEF AS AMICUS
     CURIAE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO FACEBOOK’S
     MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                         CASE NO.: 5:16-CV-06440-EJD
 1   is to advance economic opportunity, especially for historically disadvantaged communities. For

 2   many in those communities, fair housing is at the heart of a stable economic future.

 3           Upturn has an interest in this case because it concerns how digital advertising will affect

 4   racial and economic equity. Upturn has unique expertise related to digital advertising and can assist

 5   the Court by addressing facts relevant to a core issue of this case without duplicating the arguments

 6   of the parties. Moreover, in order to effectively pursue its mission, Upturn has an interest in

 7   understanding Section 230’s application to the practices at issue in this litigation. Importantly, the

 8   underlying tension between Section 230 and the applicability of civil rights laws that regulate

 9   marketing is relevant to many major ad platforms.

10           Facebook’s Ad Platform is complex. Upturn’s proposed amicus brief provides the

11   perspective of uniquely situated technical experts. More specifically, the brief describes how

12   underappreciated technical features of Facebook’s Ad Platform protection – its Lookalike

13   Audiences and ad delivery procedures – contribute to unlawfulness under the Fair Housing Act.

14   These descriptions are critical to proper application of Section 230 immunity in this case.

15           Amicus has spent years researching how digital advertising, and Facebook’s Ad Platform

16   more specifically, impacts core civil rights protections, especially those related to credit,

17   employment, and housing. In the past, Facebook has noted that amicus has contributed to a

18   “constructive dialogue” on these matters. 1

19           Amicus recognizes that the intersection of Section 230 and civil rights law presents difficult

20   and important questions. Amicus hopes to equip the Court with the best technical understanding of
21   how Facebook’s Lookalike Audiences and ad delivery work in practice. These matters are directly
22   relevant to the disposition of the issues before the Court, especially in deciding Facebook’s Motion
23   to Dismiss.
24

25   1
      In 2016, Upturn urged Facebook to begin automatically classifying ads for housing, credit, and employment in
26   order to enable the adoption of new policies and enforcement mechanisms. In a blog post announcing its adoption of
     such a system, Facebook acknowledged the feedback of Upturn and other groups.
     https://newsroom.fb.com/news/2016/11/updates-to-ethnic-affinity-marketing/
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28   UPTURN’S MOTION FOR ADMINISTRATIVE RELIEF FOR LEAVE TO FILE BRIEF AS AMICUS
     CURIAE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO FACEBOOK’S
     MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                         CASE NO.: 5:16-CV-06440-EJD
 1          WHEREFORE, Upturn respectfully requests that this Court grant it leave to file the

 2   proposed, attached amicus brief.

 3

 4   Date: November 16, 2018            Respectfully submitted,

 5                                      By: Mary Kelly Persyn
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28   UPTURN’S MOTION FOR ADMINISTRATIVE RELIEF FOR LEAVE TO FILE BRIEF AS AMICUS
     CURIAE IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO FACEBOOK’S
     MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                                         CASE NO.: 5:16-CV-06440-EJD
 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on November 16, 2018. I further certify that counsel of record for all parties in this case are

 5   registered CM/ECF users and that service will be accomplished by the CM/ECF system.

 6          I certify under penalty of perjury that the foregoing is true and correct. Executed this 16th

 7   day of November 2018.

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10                                                 /s/ Mary Kelly Persyn

11                                                 Mary Kelly Persyn

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10   ONUOHA, on behalf of themselves and all           )
     others similarly situated,                        )
11                                                     )
                                                       )   [PROPOSED] ORDER GRANTING
12                     Plaintiff(s),                   )   UPTURN’S MOTION FOR
                                                       )   ADMINISTRATIVE RELIEF FOR
13          vs.                                        )   LEAVE TO FILE AN AMICUS CURIAE
                                                       )   BRIEF
14                                                     )
     Facebook, Inc.,                                   )
15                                                     )   Date: November 16, 2018
                                                       )   Time: N/A
16                     Defendant(s).                   )   Judge: Honorable Edward J. Davila
                                                       )   Courtroom: 4
17                                                     )
                                                       )
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19          Now, therefore, it is hereby ORDERED that:
20          Upon consideration of Upturn’s Motion for Administrative Relief for Leave to File an
21   Amicus Curiae Brief in Support of Plaintiffs’ Opposition to Facebook’s Motion to Dismiss First
22   Amended Complaint, the Court finds that the proposed amicus curiae brief may assist in the
23   determination of the matters before this Court.
24          Upturn is granted leave to file its amicus curiae brief.
25
     Dated: ________________, 2018                           ___________________________________
26                                                           HON. EDWARD J. DAVILA
                                                             United States District Judge
27

28   [PROPOSED] ORDER GRANTING MOTION
     FOR ADMINISTRATIVE RELIEF FOR LEAVE TO
     FILE AN AMICUS CURIAE BRIEF
                                                                         CASE NO.: 5:16-CV-06440-EJD
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 7   day of November 2018.

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10                                                 /s/ Mary Kelly Persyn

11                                                 Mary Kelly Persyn

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28   [PROPOSED] ORDER GRANTING MOTION
     FOR ADMINISTRATIVE RELIEF FOR LEAVE TO
     FILE AN AMICUS CURIAE BRIEF
                                                                        CASE NO.: 5:16-CV-06440-EJD
